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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

YVETTE ADELLE SANDERS,              )
INDIVIDUALLY AND AS SURVIVING       )
PARENT, AND YVETTE ADELLE           )
SANDERS, AS ADMINISTRATRIX OF       )
THE ESTATE OF ANDREW THOMAS         )
SPENCER, DECEASED,                  )                 Case No.
                                    )                 1:17-CV-02341-WSD
                                    )
                                    )
     Plaintiffs,                    )
                                    )
v.                                  )
                                    )
QUIKTRIP CORPORATION                )
                                    )
                                    )
     Defendant.                     )
___________________________________ )

  DEFENDANT QUIKTRIP CORPORATION’S EXPERT DISCLOSURE
                 AND NOTICE OF FILING

      COMES NOW Defendant QuikTrip Corporation, by and through counsel,

and pursuant to Fed. R. Civ. P. 26, identifies and discloses Karim Vellani as an

expert witness in this case to provide testimony at trial on behalf of Defendant. The

written report of this expert is attached hereto as Exhibit “A.”

      This 17th day of January, 2017.

                                              Respectfully submitted,
       Case 1:17-cv-02341-CC Document 57 Filed 01/17/18 Page 2 of 44




                                        /s/ Nicole C. Leet
                                        Michael J. Rust
                                        Georgia Bar No. 621257
                                        Nicole C. Leet
                                        Georgia Bar No.: 133044
                                        Attorneys for Defendant
                                        QuikTrip Corporation


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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

YVETTE ADELLE SANDERS,              )
INDIVIDUALLY AND AS SURVIVING       )
PARENT, AND YVETTE ADELLE           )
SANDERS, AS ADMINISTRATRIX OF       )
THE ESTATE OF ANDREW THOMAS         )
SPENCER, DECEASED,                  )
                                    )
     Plaintiff,                     )              CIVIL ACTION NO.:
                                    )              1:17-CV-02341-WSD
vs.                                 )
                                    )
QUIKTRIP CORPORATION                )
                                    )
                                    )
     Defendant.                     )
___________________________________ )

            LR 7.1(D) CERTIFICATE OF FONT COMPLIANCE

      I hereby certify that the foregoing has been prepared with one of the font and

point selections approved by the Court in Local Rule 5.1(C), Northern District of

Georgia, specifically Times New Roman 14 point.

                                Submitted this 17th day of January, 2018.

                                             /s/Nicole C. Leet
                                             Nicole C. Leet
                                             Georgia Bar No. 13304
                                             Attorney for Defendant
        Case 1:17-cv-02341-CC Document 57 Filed 01/17/18 Page 4 of 44




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

YVETTE ADELLE SANDERS,              )
INDIVIDUALLY AND AS SURVIVING       )
PARENT, AND YVETTE ADELLE           )
SANDERS, AS ADMINISTRATRIX OF       )
THE ESTATE OF ANDREW THOMAS         )
SPENCER, DECEASED,                  )              Case No.
                                    )              1:17-CV-02341-WSD
                                    )
                                    )
     Plaintiffs,                    )
                                    )
v.                                  )
                                    )
QUIKTRIP CORPORATION                )
                                    )
                                    )
     Defendants.                    )
___________________________________ )

                         CERTIFICATE OF SERVICE

      I hereby certify that on January 17, 2018, copies of Defendant’s Expert

Disclosure were electronically served with the Clerk of Court using the CM/ECF

system which will automatically send notification of such filing to the following

attorneys of record:


                                  Peter A. Law
                               E. Michael Moran
                               Elizabeth A. Rose
                                 Law & Moran
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                       563 Spring Street, NW
                         Atlanta, GA 30308


This 17th day of January, 2018.


                                    /s/ Nicole C. Leet
                                    Nicole C. Leet
                                    Georgia Bar No.: 133044
                                    Attorney for Defendant QuikTrip
                                    Corporation
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                      EXHIBIT “A”

         REPORT OF KARIM VELLANI
        Case 1:17-cv-02341-CC Document 57 Filed 01/17/18 Page 7 of 44




January 17, 2018




Nicole C. Leet, Attorney at Law
Gray, Rust, St. Amand, Moffett & Brieske, LLP
1700 Atlanta Plaza
950 East Paces Ferry Road
Atlanta, GA 30326


      Re:    Civil Action No. 17A64582; Yvette Adelle Sanders, Individually and as
             surviving parent, and Yvette Adelle Sanders, as Administratrix of The Estate
             of Andrew Thomas Spencer, deceased, Plaintiffs vs. QuikTrip Corporation,
             and BJS QT, LLC, Defendants; In the State Court of DeKalb County, State
             of Georgia


Ms. Leet:

Please find attached my report in the above referenced matter. I understand that
discovery is on-going with additional deposition scheduled in late February 2018. As
such, I request permission to supplement this report upon review of those depositions
and if any other discovery is made available.


Respectfully submitted,




Karim H. Vellani, CPP, CSC




                   P.O. Box 16640   Sugar Land, TX 77496   (281) 494-1515
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QUALIFICATIONS

Karim H. Vellani is the President of Threat Analysis Group, LLC, an independent security
consulting firm. Karim is Board Certified in Security Management (CPP), a Board
Certified Security Consultant (CSC), has over 23 years of security management, crime
analysis, and forensic security consulting experience, and has a Master’s Degree in
Criminal Justice Management. He is the author of two books, Applied Crime Analysis
and Strategic Security Management, and has contributed to a number of other security
related books and journals.

As an independent security management consultant, Karim has been retained by Fortune
500 companies and government agencies. He has extensive experience in risk
management and security force protection and provides consultation on a regular basis
at government, commercial, and residential facilities across the nation. Karim has worked
on projects ranging from data centers, hospitals and healthcare facilities, houses of
worship, manufacturing facilities, financial institutions, retailer stores, shopping centers
and malls, hotels and motels, office buildings, and residential housing (including Section
8).

For 11 years, Karim was responsible for managing the quality control/assurance function
for United States Department of Homeland Security’s (DHS) protection force at federal
government buildings in 23 states including Mississippi, Alabama, West Virginia,
California, Montana, North Dakota, South Dakota, Wyoming, Utah, Nevada, North
Carolina, Tennessee, Arizona, Kentucky, Illinois, Washington, Idaho, Texas, Oklahoma,
Florida, South Carolina, Rhode Island, and Massachusetts.

Karim specializes in crime analysis and security risk assessment and mitigation. He
developed a crime analysis methodology that utilizes the Federal Bureau of
Investigation’s (FBI) Uniform Crime Report coding system and a proprietary software
application called CrimeAnalysisTM. The software allows end users to identify specific
threats, select appropriate countermeasures, and reduce their risk. The methodology
was published in Applied Crime Analysis. Since developing the crime analysis
methodology, Karim has assessed crime threats at thousands of facilities. Karim has also
developed a Security Risk Assessment Methodology for Healthcare Facilities and
Hospitals. In 2009, the International Association of Healthcare Security and Safety
(IAHSS) published its Security Risk Assessment Guideline, which was authored by Karim
at the request of IAHSS. He is also a Technical Committee Member on the Risk
Assessment Standard Development Committee for the American Society for Industrial
Security - International (ASIS).

As an Adjunct Professor at the University of Houston - Downtown, Karim taught graduate
courses in Security Management and Risk Analysis for the College of Criminal Justice’s
Security Management Program. He has also trained Police and Security Officers in
weapons and use of deadly force and profiling and assisted in the development of


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maritime security training curriculum compliant with ISPS Code and the United States
Coast Guard under the Maritime Transportation Security Act. Annually, Karim instructs
for the International Association of Professional Security Consultants and ASIS-
International.

Karim is a member of the International Association for Healthcare Security & Safety
(IAHSS), the International Association of Professional Security Consultants (IAPSC),
ASIS-International, the American Society of Criminology (ASC), and the International
Association of Crime Analysts (IACA). He is a Past President of the IAPSC.


MATERIALS REVIEWED

In arriving at the opinions discussed in this report, I reviewed and/or relied upon the
materials listed below:

1. Pleadings (Petition/Complaints)
2. Various Discovery (Rogs, RFP, RFA, etc.)
3. QuikTrip Surveillance Video
4. Chamblee Police Department Incident Reports (Bates 1 – 787)
5. Chamblee Police Department Supplement Reports (Bates 1 – 36)
6. Audio Files
7. CAD Search Results for 4166 Buford
8. Detail CAD Reports (Bates 1 – 19)
9. CAD Incident Detail
10. Jansen and Bolling Statements
11. DeKalb County Police Department Crime Grid for 4050 Buford
12. DeKalb County Medical Examiner Report
13. News Articles
14. David Garcia-Mendoza Case Files
15. Jose Alvarez Case File (1-14)
16. Andrew Spencer Social Media Pages
17. Andrew Spencer Tax Records
18. Clora Funeral Home Invoice
19. Andrew Spencer Death Certificate
20. Photos of QuikTrip
21. Emails (QT 65 – 67) and (QT 36, QT 38 – 40)
22. Customer Activity Report (QT 41 – QT 51)
23. Repair Records
24. Site Plan (QT 52)
25. Time Cards (QT 53 – QT 64)
26. Crime Scene Photos
27. PD Dashcam Videos
28. Witness Interview Video


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29. QuikTrip Customer Incident Report, Policies and Procedures, Store Security System
    Guide (QT 1 – QT 35 and QT 24a)
30. Amended Attachments
31. Plaintiff’s Initial Disclosures
32. Defendant Disclosures
33. Chamblee PD Crime Data
34. DeKalb County PD Incident Reports
35. DeKalb County PD List of Crimes at 4050 Buford Hwy
36. 911 call Records
37. Exhibits 11-67
38. Deposition of Alex Chang
39. Deposition of Alex Cushenan
40. Deposition of Anthony Bolling
41. Deposition of Antonio Richmond Jr.
42. Deposition of Chris Bothwell
43. Deposition of Ernesto Ford
44. Deposition of Gaetano “Guy” Antinozzi
45. Deposition of Gregg Romero
46. Deposition of Quintin Heard
47. Deposition of Rhamses Reyes
48. Dresden East Civic Association Community Map
49. Chamblee Base Map
50. The Signal (City of Chamblee publication) dated January 2014

In addition, I inspected the Subject Property on the night of Thursday, October 12, 2017.


BACKGROUND

The subject incident is the murder of Andrew Thomas Spencer (subject incident) which
occurred at a QuikTrip located at 4050 Buford Hwy NE, Atlanta, GA 30345. The subject
incident occurred on Thursday, December 29, 2016 at approximately 3:24am.1 2

According to the police report for this incident, the witness Mr. Quintin Heard stated he
was coming out of the QuikTrip along with the victim when a male standing between a
white and gray car started shooting toward them. He stated he took off running toward
the inside of the QuikTrip while the victim [Andrew Thomas Spencer] remained outside.
Mr. Heard stated he heard approximately four to five shots when he was running inside.3




1 Chamblee Police Department Incident Report 16-10989
2 QuikTrip Surveillance Video
3 Chamblee Police Department Incident Report 16-10989




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A Chamblee Police Officer in marked patrol vehicle drove into the QuikTrip parking lot
approximately eight seconds before the shooting.4 In addition, an unidentified uniformed
police or security officer enters the QuikTrip approximately ten seconds before the
perpetrator who shot Mr. Spencer. The unidentified uniformed police or security officer
exits the QuikTrip before the perpetrator and departs the QuikTrip parking lot
approximately six minutes before the shooting.5


CRIME ANALYSIS

The subject property’s crime risk was evaluated using four factors - similarity, frequency,
recency, and proximity. These factors were considered with additional guidance from
industry accepted practices and government sources.

The International Association of Professional Security Consultants (IAPSC) Forensic
Methodology6 is a peer-reviewed and consensus-based guideline promulgated by a
recognized security industry association. The IAPSC Forensic Methodology addresses
both time (recency) and distance (proximity) in assessing the crime impact at a property,
specifically:

       Relevant crimes on the premises (three to five years prior to the date of the
        incident)

       Relevant crimes in the immediate vicinity of the facility (three to five years prior to
        the date of the incident) as defined by and deemed relevant by the security expert

The United States Department of Justice, specifically the Federal Bureau of Investigation
and the Bureau of Justice Statistics, guide the assessment of crime similarity and
frequency. The Federal Bureau of Investigation (FBI) collects crime data and codifies
them using the Uniform Crime Report (UCR) methodology.7 The UCR categories include
violent crimes, property crimes, and Part 2 crimes. In this instance where the crime in
question is a murder, crimes of a similar nature include violent crimes and crimes against
persons as defined by the Federal Bureau of Investigation. Violent crimes, as defined by
the Federal Bureau of Investigation, include murder, rape, robbery, and aggravated
assault. Crimes against persons include murder, rape, aggravated assault, and assault.

Property crimes are dissimilar to violent crimes. Property crimes, as defined by the
Federal Bureau of Investigation, include burglary, theft, auto theft, and arson. Property
crimes are not typically used to assess the risk of violent crime at a subject property.
Research has shown that property crimes escalate into violent crimes at a low rate.
4 QuikTrip Surveillance Video
5 QuikTrip Surveillance Video
6 See Appendix B
7 https://ucr.fbi.gov/ (accessed January 17, 2018)




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Further, when assessing violent crime risk retrospectively, as is the case here, including
property crimes is inappropriate if the objective is to assess similar crimes. As a
retrospective crime analysis, historical law enforcement data is utilized. Any property
crime which escalated into violence is counted as a violent crime. Similarly, non-crimes
(e.g. found person) and UCR Part 2 Crimes (e.g. criminal mischief) should not be included
in the violent crime risk analysis.

When assessing the crime risk of a place, it is important to distinguish crimes which pose
a threat to the general users of the place versus those that pose a risk to specific
individuals. The Bureau of Justice Statistics8 defines two types of crime categories based
on the relationship of the offender and victim:

       "Stranger" (also known as “Stranger-Initiated”) is a classification of the victim's
        relationship to the offender for crimes involving direct contact between the two.
        Incidents are classified as involving strangers if the victim identifies the offender
        as a stranger, did not see or recognize the offender, or knew the offender only by
        sight. Crimes involving multiple offenders are classified as involving non-strangers
        if any of the offenders was a non-stranger. Since victims of theft without contact
        rarely see the offender, no distinction is made between strangers and non-
        strangers for the crime.

       "Non-Stranger" (also known as “Interpersonal”) is a classification of a crime victim's
        relationship to the offender. An offender who is either related to, well known to, or
        casually acquainted with the victim is a non-stranger. For crimes with more than
        one offender, if any of the offenders are non-strangers, then the group of offenders
        as a whole is classified as non-stranger. This category only applies to crimes which
        involve contact between the victim and the offender; the distinction is not made for
        crimes of theft since victims of this offense rarely see the offenders.

When assessing similarity of crimes, only prior stranger violent crimes should be
analyzed for purposes of identifying the general crime risk at a subject property.
Frequency may be measured in different ways, including identification of crime patterns
and calculations of crime rates:

       Crime Pattern - two or more incidents related by a common causal factor, usually
        to do with the offender, location, or target. Patterns are usually, but not always,
        short term phenomena.9




8http://www.bjs.gov/index.cfm?ty=tp&tid=941 (accessed January 17, 2018)
9International Association of Crime Analysts (2009). Exploring Crime Analysis, Second Edition.
Overland Park: International Association of Crime Analysts


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         Crime Rate - the ratio of crimes in an area to the population of that area. Crime
          rates are typically expressed per 1,000 population per year. A crime rate provides
          context to a crime volume.10

Depending on the police jurisdiction that serves the subject property, different types of
crime records may be available. The most common type of crime record used in a crime
risk analysis is Calls for Service or dispatch logs. It is important to note that Calls for
Service or dispatch log accuracy varies by jurisdiction. Further, changes to incident
management and dispatch systems may also impact accuracy even within the same
jurisdiction. When assessing crime risk, Calls for Service and dispatch logs should not
be used alone. Offense/Incident Reports are necessary to validate the Calls for Service
or dispatch logs, specifically the crime type, crime location, and whether a crime actually
occurred. Calls for service or dispatch logs alone, in many jurisdictions, are insufficient
for these three elements.11

Chamblee Police Department (CPD) and DeKalb County Police Department (DCPD)
Incident Reports were used for this crime analysis. CPD and DCPD records for violent
crimes and assaults for January 1, 2013 to December 28, 2016 (day prior to the subject
incident) are summarized in the table below. Stranger vs. Non-Stranger violent crimes
and assaults were distinguished using the Incident Reports. Where the victim-offender
relationship for a particular violent crime and assault was not known, the crime was
counted as a Stranger crime.12 Non-Stranger crimes are more difficult to prevent than
Stranger crimes and typical security measures are not often effective. Security programs
are usually not designed to deter or prevent Non-Stranger crimes. The table includes
counts for each violent crime (red) and assault (blue) and individual counts for Stranger
and Non-Stranger13 violent crimes and assaults.

         UCR                                                                     Non-
         Code    Uniform Crime Report (UCR) Name                 Stranger      Stranger      Total
          1      Murder                                              0             0          0
          2      Rape                                                0             0          0
          3      Robbery                                             0             0          0
          4      Aggravated Assault                                  2             0          2
          9      Other Assaults                                      3             2          5




10 Vellani, Karim H. and Joel D. Nahoun (2001). Applied Crime Analysis. Woburn: Butterworth-
Heinemann
11 Vellani, Karim H. and Joel D. Nahoun (2001). Applied Crime Analysis. Woburn: Butterworth-

Heinemann
12 The complete Police Offense Report, including non-public sections, may indicate that some of these

crimes were in fact Non-Stranger crimes
13 Crimes were presumed to be “Stranger” unless clearly “Non-Stranger” based on the Offense Reports




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In addition to the crimes listed in the table above, there was one additional unconfirmed
incident during the relevant timeframe.14

The table below summarizes the details of the two Stranger violent crimes at the subject
property.


 Report UCR            UCR
   #    Code           Crime           Date       Time      Location             Comments
                                                                         Complainant advised
                                                                         she heard arguing in the
                                                                         parking lot, heard shots,
                                                                         then realized she'd been
 14-                Aggravated                              Parking      hit in the hand and
 02297        4     Assault          4/6/2014      4:01     lot          vehicle window broken
                                                                         Report of shots fired,
                                                                         fleeing vehicles were
 14-                Aggravated                                           stopped and searched
 08852        4     Assault    11/9/2014           3:48     Outside      and weapons found

As seen in the table above, none of the Stranger violent crimes at the subject property
resulted in major injuries. There is evidence that QuikTrip was aware of both incidents,
though there is no evidence that QuikTrip was aware of the injuries in the April 6, 2014
incident.15 QuikTrip also has internal records indicating awareness of non-violent
incidents at the subject property16 and a kidnapping wherein the suspect and victim were
in the parking lot.17 The latter incident does not appear to have started or ended on
QuikTrip property.

As seen in the graph below, there were no Stranger violent crimes at the subject property
in more than 24 months prior to the subject incident.




14 DeKalb County Police Department Records, Case Number 13-129592, Report of “fight shot fired” on

December 1, 2013
15 QuikTrip Security Alerts (Bates QT000039 and Bates QT000038)
16 QuikTrip Security Alerts
17 QuikTrip Panic Alarm Report (Bates QT000048)




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                              Stranger Violent Crime by Year
                                       2




               0                                                   0                          0
              2013                    2014                        2015                  2016 TO 12/28


The subject incident occurred on a Thursday at approximately 3:24am (0000-0359 time
block). The graphs below display the temporal pattern of Stranger violent crimes at the
QuikTrip.


                         Stranger Violent Crime by Day of Week
                        [January 1, 2013 to December 28, 2016]
                                                                                                      2




               0          0                0               0               0           0

            Monday      Tuesday   Wednesday           Thursday         Friday      Saturday         Sunday




                         Stranger Violent Crime by Time of Day
                        [January 1, 2013 to December 28, 2016]


                1             1




                                                  0               0                0                 0

            0000-0359     0400-0759            0800-1159       1200-1559        1600-1959         2000-2359




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SECURITY

QuikTrip had extensive policies which address security, safety, security systems,
accidents, alarm activation, and other related topics. At the time of the subject incident,
this QuikTrip had extensive video surveillance of the property with at least 13 cameras
providing views inside and outside the store. The QuikTrip was staffed with at least two
employees on duty at the time of the subject incident.

Exterior lighting was measured at the time of the site inspection. At that time, illumination
at/near the gas pumps where the incident occurred measured at 7.0 foot-candles,
exceeding industry guidelines18 of 6.0 foot-candles. Mr. Heard and Mr. Richmond, friends
of Mr. Spencer’s witnesses to the incident, stated that it was well lit outside the QuikTrip.19
20




OPINION(S)

1. A pattern of crimes, similar to the subject incident, did not exist at the QuikTrip.

2. The subject property had a low risk of violent crime.

3. There is no evidence in this matter that QuikTrip knew that the perpetrator was a
   danger to Mr. Spencer or other people on the property.

4. The security posture of the QuikTrip was appropriate in light of the low crime risk.

        a. Security Officers were not warranted at the subject property in light of the low
           crime risk, particularly on the day of week when this incident occurred.

        b. The presence of uniformed Officers on the property is not a guarantee that
           crimes will be prevented. This is exemplified by the Chamblee Police Officer
           in the QuikTrip parking lot at the time of the shooting and the unidentified
           uniformed police or security officer in the QuikTrip store at the same time as
           the perpetrator who shot Mr. Spencer.

5. Security at the QuikTrip, or lack thereof, did not cause the subject incident.




18 Guideline for Security Lighting for People, Property, and Public Spaces (IESNA G-1-03)
19 Deposition of Quintin Heard, Page 44, Lines 10-11
20 Deposition of Antonio Richmond, Jr., Page 30, Lines 5-8




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Driven Model for Estimating Industry Average Numbers of Hospital Security Staff.”
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Appropriate Responses.” Journal of Healthcare Protection Management, Volume 32,
Number 2, International Association for Healthcare Security & Safety.

Publication Pending:

Vellani, Karim H. (2018). Applied Crime Analysis, Second Edition. Boca Raton, FL: CRC
Press.

Vellani, Karim H. (2018). Strategic Security Management: A Risk Assessment Guide for
Decision Makers, Second Edition. Boca Raton, FL: CRC Press.


TESTIMONIAL HISTORY (4 YEARS)

Cause No. 2012-DCL-06098-A; Rodriguez v. SDP Hotel, LLC
District Court 107th Judicial District, Cameron County, TX
March 7, 2014

File No. 11EV012852B; Wyatt v. First Communities Management, Inc.
State Court of Fulton County, State of Georgia
June 3, 2014

Civil Action File No. 11EV013191B; Tijuana Shambry v. The Laramar Group
State Court of Fulton County
September 4, 2014

Civil Action #80722; Mitchell v. US Security Associates, Inc.
State Court of Bibb County
September 30, 2014

No. 2013-DCL-02461 Madrigal v. The Coca Cola Company, et al
District Court of Cameron County, Texas
12/11/14

Civil Action File No. 14EV002063F; JW v. Ninety-Nine, Investments, Inc.
State Court of Fulton County, State of Georgia


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May 21, 2015

Civil Action File No. 14EV002336E; Brown v. Wesley Club, LLC
State Court of Fulton County, State of Georgia
October 19, 2015

Cause No. GN-13-004322; Young v. Greyhound Lines, Inc.
District Court, Travis County, Texas, 345th Judicial District
February 3, 2016

Civil File Action 14A52296E5; Alexis v. Riverstone Residential SE, LLC
State Court of Dekalb County, State of Georgia
March 3, 2016

C.A. No. PC11-6234; Main v. Citizens Financial Group, Inc.
State of Rhode Island
March 11, 2016

Civil Action No. 14A52002-2; Hassen v. Olde Plantation Apartments on Montreal, LLC
In the State Court of DeKalb County, State of Georgia
May 19, 2016

Civil Action No. 13-902875; Hollins v. Mobile Infirmary Association
Circuit Court of Mobile County, Alabama
July 29, 2016

No. CV2012-01469; James C. Dunajski, Plaintiff vs. Mohave Mental Health Clinic, Inc.,
an Arizona non-profit corporation, and Does I through X, inclusive, Defendants; In the
Superior Court of the State of Arizona, County of Mohave
January 16, 2017

Cause No. DC-15-07174; Doe vs. Ripley Entertainment, Inc.; In the District Court, Dallas
County, Texas, 44th Judicial District
February 9, 2017

No. CV2012-01469; James C. Dunajski, Plaintiff vs. Mohave Mental Health Clinic, Inc.,
an Arizona non-profit corporation, and Does I through X, inclusive, Defendants; In the
Superior Court of the State of Arizona, County of Mohave
February 10, 2017 (Trial Testimony)

Civil Action No. 2015CV01818; Kayla Hairston, Plaintiff vs. First Communities
Management, Inc., Centennial Chase Lake, LLC, and John Does Nos. 1-5, Defendants;
In the State Court of Clayton County, State of Georgia
June 14, 2017


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Civil Action File No. 15EV001501; Janice Qaraandin Watts, Individually and Henry
Kimble, as Administrator of the Estate of Antoine Kimble, deceased, Plaintiff vs. John
Hancock Life Insurance Company (USA), Risk Management Associates of Georgia, Inc.,
Kenneth Macauley, Riverstone Residential SE, LLC, and Greystar RS SE, LLC,
Defendants; In the State Court of Fulton County, State of Georgia
June 21, 2017

Civil Action No. 16A-1608-6; Bintou Cham, as surviving spouse of Franklin Callens, and
Aeysha Harris as Administrator of the estate of Franklin Callens, deceased, Plaintiffs vs.
ECI Management Corp. and Cobb-Six Flags Associates, Ltd., Defendants; In the State
Court of Cobb County, State of Georgia
August 24, 2017


COMPENSATION

At the time of this report, I been compensated $11,230 including travel expenses for the
site inspection. My time is billed at $500 per hour.




                                    --- End of Report ---

This report may be supplemented as additional discovery is made available and
other case activity is completed.




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APPENDIX A: Curriculum Vitae of Karim Vellani

Professional Experience Summary
Karim H. Vellani is the President of Threat Analysis Group, LLC, an independent security
consulting firm. Karim is Board Certified in Security Management (CPP), a Board Certified Security
Consultant (CSC), has over 23 years of security management, crime analysis, and forensic security
consulting experience, and has a Master’s Degree in Criminal Justice Management. He is the
author of two books, Applied Crime Analysis and Strategic Security Management, and has
contributed to a number of other security related books and journals.

As an independent security management consultant, Karim has been retained by Fortune 500
companies and government agencies. He has extensive experience in risk management and
security force protection and provides consultation on a regular basis at government,
commercial, and residential facilities across the nation. Karim has worked on projects ranging
from data centers, hospitals and healthcare facilities, houses of worship, manufacturing facilities,
financial institutions, retailer stores, shopping centers and malls, hotels and motels, office
buildings, and residential housing (including Section 8).

For 11 years, Karim was responsible for managing the quality control/assurance function for
United States Department of Homeland Security’s (DHS) protection force at federal government
buildings in 23 states including Mississippi, Alabama, West Virginia, California, Montana, North
Dakota, South Dakota, Wyoming, Utah, Nevada, North Carolina, Tennessee, Arizona, Kentucky,
Illinois, Washington, Idaho, Texas, Oklahoma, Florida, South Carolina, Rhode Island, and
Massachusetts.

Karim specializes in crime analysis and security risk assessment and mitigation. He developed a
crime analysis methodology that utilizes the Federal Bureau of Investigation’s (FBI) Uniform
Crime Report coding system and a proprietary software application called CrimeAnalysisTM. The
software allows end users to identify specific threats, select appropriate countermeasures, and
reduce their risk. The methodology was published in Applied Crime Analysis. Since developing
the crime analysis methodology, Karim has assessed crime threats at thousands of facilities.
Karim has also developed a Security Risk Assessment Methodology for Healthcare Facilities and
Hospitals. In 2009, the International Association of Healthcare Security and Safety (IAHSS)
published its Security Risk Assessment Guideline, which was authored by Karim at the request of
IAHSS. He is also a Technical Committee Member on the Risk Assessment Standard Development
Committee for the American Society for Industrial Security - International (ASIS).

Karim also provides forensic security consulting services to insurance companies and the legal
profession. In this work, Karim provides litigation support to attorney’s and serves as an expert
witness in security related lawsuits. As an Adjunct Professor at the University of Houston -
Downtown, Karim taught graduate courses in Security Management and Risk Analysis for the



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College of Criminal Justice’s Security Management Program. He has also trained Police and
Security Officers in weapons and use of deadly force and profiling and assisted in the
development of maritime security training curriculum compliant with ISPS Code and the United
States Coast Guard under the Maritime Transportation Security Act. Annually, Karim instructs
for the International Association of Professional Security Consultants and ASIS-International.

Karim is a member of the International Association for Healthcare Security & Safety (IAHSS), the
International Association of Professional Security Consultants (IAPSC), ASIS-International, the
American Society of Criminology (ASC), and the International Association of Crime Analysts
(IACA). He is a Past President of the IAPSC.


Current Employment

Threat Analysis Group, LLC
President & Independent Security Consultant

      Provide project management services for security deployment, training, engineering and
       design, and assessments

      Provide security management consulting services including risk assessment methodology
       development and execution, threat assessments and crime analysis, vulnerability
       assessments and security surveys

      Provide forensic security consulting and litigation support

      Develop and maintain CrimeAnalysisTM services and software to determine threat level at
       client facilities


Past Employment

University of Houston – Downtown
Adjunct Professor

      Taught graduate courses in Security Management and Risk Analysis for the Security
       Management Master’s Program at the University’s College of Criminal Justice.

Texas One Security
Operations Manager




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      Managed over one hundred security officers and approximately 1400 guard hours at
       seventeen (17) client sites

      Responsibilities included hiring and training, deployment and scheduling, and conducting
       performance evaluations for the company’s security force

      Ensured that the officer’s and the company complied with Texas Private Security Bureau
       rules and regulations.

Operational Support Services, Inc.
Law Enforcement Advisor/Security Consultant

      Provided security consulting services to police departments, private security companies,
       insurance companies, federal and state government agencies, and the legal profession

      Responsibilities included analyzing client’s risk by conducting threat and vulnerability
       assessments

North Harris College
Instructor

      Trained Police and Security Officers in firearms use

      Trained Security Officers on laws, including deadly force and profiling

Roehling Corporate International Investigations, Inc.
Private Investigator

      Provided investigative services to the legal profession, insurance companies, and private
       corporations

      Served on search team for Oklahoma escaped convict Randolph Franklin Dial


Certifications & Licenses

Board Certified Security Consultant (CSC)
International Association of Professional Security Consultants (IAPSC)

Board Certified in Security Management (CPP)
American Society for Industrial Security - International (ASIS)



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Licensed Security Consultant (License No. DD-00882)
Texas Private Security Bureau, Texas Department of Public Safety

Board Certified Protection Officer (CPO)
International Foundation for Protection Officers

Board Certified Police Firearms Instructor
National Rifle Association of America


Education & Training

Bachelor of Science, Criminal Justice (Law Enforcement), Sam Houston State University, August,
1994

Master of Science, Criminal Justice Management, Sam Houston State University, August, 1998

Instructors Course, Texas Commission on Law Enforcement Standards and Education

Certified Protection Officer Course, International Foundation for Protection Officers

Certified Protection Professional Course, American Society for Industrial Security – International

Concealed Handgun Instructor Course, Texas Department of Public Safety

Gang Crimes, Montgomery County Sheriff’s Department

Level One Training, Texas Private Security Bureau

Personal Protection and Home Safety Instructor Course, National Rifle Association of America

Pistol, Rifle and Shotgun Instructor Course, National Rifle Association of America

Police Firearms Instructor Course, National Rifle Association of America

Identifying and Managing Risky Facilities, International Association of Professional Security
Consultants


Professional Affiliations



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American Society of Criminology (ASC)

American Society for Industrial Security - International (ASIS)

International Association of Crime Analysts (IACA)

International Association for Healthcare Security & Safety (IAHSS)

International Association of Professional Security Consultants (IAPSC)


Accomplishments

Member, Security Metrics/Data Task Force, 2016-2017
International Association of Healthcare Security and Safety

Chairman, Evidence Based Healthcare Security Research Committee, 2016-2017
International Association of Healthcare Security and Safety Foundation

Member, Board of Directors, 2016 – 2017
International Association of Healthcare Security and Safety Foundation

Technical Committee Member, Private Security Officer (ANSI Standard), 2015 - 2017
American Society for Industrial Security - International (ASIS)

Chairman, Evidence Based Healthcare Security Research Committee, 2015-2016
International Association of Healthcare Security and Safety Foundation

Member, Board of Directors, 2015 – 2016
International Association of Healthcare Security and Safety Foundation

Member, Board of Directors, 2013 - 2015
International Association of Professional Security Consultants (IAPSC)

Technical Committee Member, Risk Assessment (ANSI Standard), 2013 - 2016
American Society for Industrial Security - International (ASIS)

Member, Board of Directors, 2013 – 2014
International Healthcare Security and Safety Foundation




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Member, Forensic Security Committee, 2004 – 2012
International Association of Professional Security Consultants (IAPSC)

Chairman, Council on Advocacy, 2011 - 2012
International Association for Healthcare Security & Safety (IAHSS)

Advisory Member, Security Lighting Guideline (G-1-11), 2011 - 2013
Illuminating Engineering Society of North America (IESNA)

Technical Committee Member, Private Security Company (ANSI Standard), 2012 - 2013
Maturity Model for the Phased Implementation of a Quality Assurance Management System for
Private Security Service Providers (PSC.3) Standard
American Society for Industrial Security - International (ASIS)

Technical Committee Member, Private Security Company (ANSI Standard), 2011 - 2012
Conformity Assessment and Auditing Management System for Quality of Private Security
Company Operations (PSC.2) Standard
American Society for Industrial Security - International (ASIS)

Technical Committee Member, Private Security Company (ANSI Standard), 2011 – 2012
Management System for Quality of Private Security Company Operations (PSC.1)
American Society for Industrial Security - International (ASIS)

Technical Committee Member, Physical Asset Protection (ANSI Standard), 2011 - 2012
American Society for Industrial Security - International (ASIS)

Member, Board of Directors, 2011 - 2012
International Association of Professional Security Consultants (IAPSC)

Immediate Past President, 2009 - 2011
International Association of Professional Security Consultants (IAPSC)

President, 2008 - 2009
International Association of Professional Security Consultants (IAPSC)

Vice President, 2007 - 2008
International Association of Professional Security Consultants (IAPSC)

Secretary, 2006 - 2007
International Association of Professional Security Consultants (IAPSC)




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Member, Board of Directors, 2004 - 2006
International Association of Professional Security Consultants (IAPSC)

Chairman, Professional Certification Committee, 2004 - 2006
International Association of Professional Security Consultants (IAPSC)

Member, Private Security Services Council, 2005 – 2006
American Society for Industrial Security - International (ASIS)

Chairman, Certifications Committee, 2004 - 2006
American Society for Industrial Security - International (ASIS) - Houston Chapter

Chairman, By-Laws Committee, 2004
International Association of Professional Security Consultants (IAPSC)

Chairman, Certified Protection Professional Committee, 2002 - 2003
American Society for Industrial Security - International (ASIS) - Houston Chapter

Committee Member, Publications Committee, 2001 - 2002
International Association of Crime Analysts (IACA)


Publications & Presentations

Vellani, Karim H. (1998). “Management Ideas for Preventing Crime: An Analysis of Liability, Site-
Specific Crime Prevention, Crime Prevention Through Environmental Design, and Violence
Escalation.” Sam Houston State University, Huntsville, Texas.

Vellani, Karim H. (1999). “Crime Stoppers.” Journal of Property Management, Institute of Real
Estate Management, September/October 1999.

Vellani, Karim H. (2000). “Security + Service = Satisfaction: The Perks of Private Security.” Journal
of Property Management, Institute of Real Estate Management, May/June 2000.

Vellani, Karim H. and Joel D. Nahoun (2001). Applied Crime Analysis. Woburn: Butterworth-
Heinemann.

Vellani, Karim H. (March 29, 2000). "Convenience Store Security." Presented to Pakistan
Association of Greater Houston (PAGH).




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for Industrial Security, October 2001. Edited extensively by Security Management editors.

Vellani, Karim H. (2001). “Crime Analysis: The First Step in Creating an Effective Crime Prevention
Program.” 47th Annual Seminar & Exhibit, San Antonio, Texas, American Society for Industrial
Security, October 1, 2001.

Vellani, Karim H. (2001). “Rape Zones: Are Some Neighborhoods More Prone To Sexual Assault?”
KHOU 11, Houston, Texas. Aired November 25, 2001.

Vellani, Karim H. (2002). “Crime Analysis Literature: What We Have and Where We Are Going.”
Forecaster, International Association of Crime Analysts, Spring 2002.

Vellani, Karim H. (2002). “Risk Analysis” University of Houston - Downtown. CJ 5360: Security
and Crisis Management: Theories and Practices, April 8, 2002.

Vellani, Karim H. (2002). “Crime Analysis in the Medical Environment.” Workplace Safety
Seminar, School of Public Health, University of Texas Health Science Center, December 2, 2002.

Vellani, Karim H. (2002). “Crime Analysis: The First Step in Creating an Effective Crime Prevention
Program.” Security Business Practices Reference, Volume 5, ASIS Council on Business Practices,
ASIS International.

Vellani, Karim H. (2003). “Statistics as a Security Management Tool” in Charles A. Sennewald’s
Effective Security Management, 4th Edition. Woburn: Butterworth-Heinemann.

Vellani, Karim H. and Mark Batterson (2003). “Security Solutions for Banks.” Security Solutions
Series, Threat Analysis Group, LLC, 2003.

Vellani, Karim H. (2003). “Security Solutions for Grocery Stores.” Security Solutions Series, Threat
Analysis Group, LLC, 2003.

Vellani, Karim H. (2003). “Security Solutions for Strip Shopping Centers.” Security Solutions
Series, Threat Analysis Group, LLC, 2003.

Vellani, Karim H. (2004). “Achieving Return on Investment from Crime Analysis.” Security
Business Practices Reference, Volume 6, ASIS Council on Business Practices, ASIS International.

Vellani, Karim H. (2004). “Boosting Performance and Morale.” Security Business Practices
Reference, Volume 6, ASIS Council on Business Practices, ASIS International.




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Vellani, Karim H. (2004). “Writing Effective Proposals” International Association of Professional
Security Consultants. Newport Beach, CA, April 27, 2004.

Vellani, Karim H. (2004). “The Business Plan.” Successful Security Consulting Seminar,
International Association of Professional Security Consultants. Dallas, TX, September 25, 2004;
Carefree, AZ, May 7, 2006; San Diego, CA, September 24, 2006.

Vellani, Karim H. and Charles A. Sennewald (2004). Consultants as a Protection Resource,
Protection of Assets Manual. Alexandria: ASIS International.

Vellani, Karim H. (2004). “Crime and Foreseeability Analysis.” The Independent Security
Consultant. International Association of Professional Security Consultants. Fall, 2004.

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Industrial Security - International: Houston Chapter. June, 2005.

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International Association of Professional Security Consultants. Orlando, FL, September 10, 2005.

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of Care.” Journal of Healthcare Protection Management, Volume 22, Number 2, International
Association for Healthcare Security & Safety.

Vellani, Karim H. (2006). Strategic Security Management: A Risk Assessment Guide for Decision
Makers. Woburn: Butterworth-Heinemann.

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Association of Healthcare Security and Safety, Houston, Texas, May 21, 2010.

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Techniques and Technology, 2nd Edition. Woburn: Butterworth-Heinemann.

Vellani, Karim H. (2007). “The Gentle Art of Threat Assessment.” Journal of Healthcare
Protection Management, Volume 23, Number 1, International Association for Healthcare Security
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Vellani, Karim H. (2007). Foreword to Brian Gouin’s Physical Security Consulting. Woburn:
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Professionals, Southwest Center for Occupational & Environmental Health, School of Public
Health, University of Texas, November 14, 2007.

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and John H. Christman’s Retail Crime, Security, and Loss Prevention: An Encyclopedic Reference.
Woburn: Butterworth-Heinemann.

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Engineering Association, October 29, 2008.

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LLC.

Vellani, Karim H. (2009). “Security Risk Assessments.” Healthcare Security: Basic Industry
Guidelines, January 2009, International Association for Healthcare Security & Safety.

Vellani, Karim H. (2009). “The Business Plan and Successful Security Partnering” Successful
Security Consulting Seminar, International Association of Professional Security Consultants and
ASIS - International. Anaheim, CA, September 20, 2009; Dallas, TX, October 11, 2010; Orlando,
FL, September 18, 2011.

Vellani, Karim H. (2009). “Security Risk Assessments.” Security 101 for Health and Safety
Professionals, Southwest Center for Occupational & Environmental Health, School of Public
Health, University of Texas, October 29, 2009.

Vellani, Karim H. (2010). “Crime Analysis: A Framework for Optimizing Security and Assessing
Foreseeability.” 26th Annual Conference, Savannah, Georgia, International Association of
Professional Security Consultants, April 26, 2010.

Vellani, Karim H. (2010). “Crime Analysis: Optimizing Security in Healthcare Facilities.”
International Association of Healthcare Security and Safety, Houston, Texas, May 21, 2010.




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Steps.” Karim H. Vellani. [Center for Problem Oriented Policing www.popcenter.org].

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Woodlands, Texas, International Association of Professional Security Consultants, September 15,
2010.

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Security Consulting Seminar, International Association of Professional Security Consultants and
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Care.” American Society of Healthcare Risk Management, Tampa, FL, October 15, 2010.

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Effective Security Management, 5th Edition. Woburn: Butterworth-Heinemann.

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Association of Healthcare Security and Safety, Toronto, Ontario, May 24, 2011.

Vellani, Karim H. (2011). “Using Crime Analysis to Solve Problems in 15 Small Steps.” Journal of
Healthcare Protection Management, Volume 27, Number 2, International Association for
Healthcare Security & Safety.

Vellani, Karim H., Robert J. Emery, and Nathan Parker (2012). “Staffing Benchmarks: How Many
Security Officers are Enough?” Journal of Healthcare Protection Management, Volume 28,
Number 2, International Association for Healthcare Security & Safety.

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Litigators.” National Crime Victim Bar Association, New Orleans, LA, September 21, 2012.

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Association of Healthcare Security and Safety, Houston, Texas, October 12, 2012.

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Security Consulting, 4th Edition. Woburn: Elsevier.




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& Safety.

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Safety Foundation.

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Healthcare Security and Safety, San Diego, CA, May 20, 2014.

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of Healthcare Security and Safety, Houston, Texas, July 19, 2014.

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A Guide to a Successful Career Transition. Boca Raton: CRC Press.

Vellani, Karim H., Robert J. Emery, and Jennifer M. Reingle Gonzalez (2015). “A Data-Driven
Model for Estimating Industry Average Numbers of Hospital Security Staff.” Journal of Healthcare
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& Safety.

Vellani, Karim H. (2015). “2015 Healthcare Crime Survey.” International Healthcare Security and
Safety Foundation.

Vellani, Karim H. (2015). “2015 Healthcare Crime Survey.”          International Association of
Healthcare Security and Safety, St. Louis, MO, May 5, 2015.

Vellani, Karim H. (2015). “Security Risk Assessments.” Greater Houston Industrial Hygiene
Council, Houston, TX, June 18, 2015.

Vellani, Karim H. (2015). “Workplace Violence.” Greater Houston Industrial Hygiene Council,
Houston, TX, June 18, 2015.

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Vellani, Karim H. (2015). “Arming Security Officers” (Panelist). International Association of
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Vellani, Karim H. (2016). “2016 Healthcare Crime Survey.” International Healthcare Security and
Safety Foundation.

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Protection Management, Volume 32, Number 2, International Association for Healthcare Security
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Vellani, Karim H. (2017). “2017 Healthcare Crime Survey.” International Healthcare Security and
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Vellani, Karim H. (2017). “Violence Against Healthcare Workers: Persistent Trends and
Appropriate Responses.” Journal of Healthcare Protection Management, Volume 32, Number 2,
International Association for Healthcare Security & Safety.

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Vellani, Karim H. (2018). Applied Crime Analysis, Second Edition. Boca Raton, FL: CRC Press.

Vellani, Karim H. (2018). Strategic Security Management: A Risk Assessment Guide for Decision
Makers, Second Edition. Boca Raton, FL: CRC Press.




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APPENDIX B: Forensic Methodology




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                                                    Best Practices



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The International Association of Professional Security Consultants has issued
this consensus-based and peer-reviewed Best Practice for the guidance of
and voluntary use by businesses and individuals who deal or may deal with
the issues addressed in the context of third-party premises security litigation.




Position Statement                                 Forensic Consultants will, at all times, be
                                                   forthright, honest and precise in evolving
                                                   the ultimate conclusion(s) and opinion(s).
The International Association of Professional
                                                   The opinion(s) will be the result of a
Security Consultants does hereby recog-
                                                   review of all available documentation and
nize that its members will be called upon
                                                   discovery material presented by all parties
to perform as “Forensic Consultants” and
                                                   to the litigation. Site inspections and
serve as Expert Witnesses in a court of law
                                                   analytical procedures generally followed
or other legal proceeding. The purpose of
                                                   by the “Forensic Consultant” are described
these guidelines is to meet the need for
                                                   in these guidelines.
a standardized methodology used in the
evaluation of premises security cases.
                                                   The following methodology is to be used
                                                   in a typical premises security case. The
It is recognized that the task of the Forensic
                                                   Forensic Consultant is expected to exercise
Consultant is one of education. Forensic
                                                   diligence in requesting and/or obtaining
Consultants will provide their opinion(s) to the
                                                   information that the Consultant reasonably
client, to opposing counsel during deposition,
                                                   believes is relevant to the facts and cir-
in response to written interrogatories, in
                                                   cumstances of the case. It is reasonable to
reports, and to the judge and jury at trial or
                                                   expect variations of the steps, with some
any other lawfully convened hearing. This is
                                                   steps deleted and others added as the
done with the goal of making others aware
                                                   facts and circumstances of the case being
of the security issues and contributing to a
                                                   analyzed warrant.
just and proper conclusion of the litigation.

The responsibility of the Forensic Consultant
lies within our system of justice and the
ethics of the security profession. The opinions
so offered are made as an objective expert
witness/consultant, without any financial or
other interest in the outcome of the litigation.



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Evidence Review—                                 Risk Assessment
The Process                                      A risk assessment is the general process of
                                                 identifying and prioritizing risks. It is a quali-
In the context of these Guidelines, the
                                                 tative, quantitative, or hybrid assessment that
Forensic Consultant will review and ana-
                                                 seeks to determine the likelihood that crimi-
lyze various information, whether produced
                                                 nals will successfully exploit a vulnerability or
during the discovery process of the litigation
                                                 compromise a security countermeasure.
or otherwise obtained through research,
common knowledge, investigation, and/or
                                                 There are two main components to a risk
other legal means which allows the Consul-
                                                 assessment: a threat assessment and a
tant to identify factors leading to an under-
                                                 vulnerability assessment. The threat
standing of the crime risks present at the
                                                 assessment is an evaluation of the various
time of the criminal event.
                                                 sources for crime threats. The vulnerability
                                                 assessment, which includes a security
Types of evidence generally available to the
                                                 survey, is an analysis of the weaknesses in
Forensic Consultant include, but are not
                                                 a security program.
limited to, the following:
                                                 The security survey, along with documented
 1. Complaint/Petition
                                                 evidence, is the means by which security
                                                 measures utilized and/or available at the facility
 2. Police Report
                                                 at the time of the incident leading to the
                                                 incident that is the subject of the litigation,
 3.	Site and Immediate Vicinity Crime History
                                                 are identified and analyzed.
 4. Interrogatories and Responses
                                                 A risk assessment provides the foundation for
                                                 effectively implementing countermeasures.
 5.	Requests for Production of
     Documents and Responses

 6.	Requests for Admissions                     Threat Assessment
     and Responses
                                                 A threat assessment is an evaluation of
 7.	Affidavits, Witness Statements              events that can adversely affect operations
     and Interviews                              and/or specific assets. Historical information
                                                 is a primary source for threat assessments,
 8. Depositions                                  including past criminal and terrorist events.
                                                 A comprehensive threat assessment considers
 9. Expert Witness Reports                       actual, inherent, and potential threats.

 10.	Medical Records Relating to                 1. Actual Threats
    the Facts of the Case
                                                      a.	The crime history against an asset or
 11.	Photographs, Video and Audio                       at a facility where the asset is located.
     Recordings, etc.                                    Actual threats are a quantitative
                                                         element of a threat assessment.
 12. Other Related Evidence

                                                                                                      3
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     b.	Relevant crimes on the premises            1. Incident Review
        (three to five years prior to the date of
        the incident)                                  a.	Police incident and investigation
                                                          report
     c.	Relevant crimes in the immediate
        vicinity of the facility (three to five        b. Proprietary incident report
        years prior to the date of the incident)
        as defined by and deemed relevant              c.	Medical records (emergency room
        by the security expert                            and/or autopsy as it relates to infor-
                                                          mation about the occurrence of the
 2. Inherent Threats                                      incident)

 	Threats that exist by virtue of the                d.	Other sources of information about
    inherent nature or characteristics of                 how the incident occurred
    the facility or nature of the operation.
    For example, certain types of facilities        2.	Site Inspection
    or assets may be a crime magnet or
    prone to loss, damage or destruction               Inspect site where the incident occurred
    (e.g., assaults among patrons in night-            and the surrounding relevant area.
    clubs, infant abductions from hospital             (Note: Not all cases will require site
    nurseries, etc.).                                  inspections, nor is it always possible to
                                                       conduct site views—e.g., if the site has
 3. Potential Threats                                  been altered substantially or no longer
                                                       exists.) Further, the facts of some
 	Threats that exist by virtue of vulnera-            cases and potential liability issues are
   bilities around the asset or weaknesses             not related to the site/property layout,
   in the security program which produce               design, or other physical attributes.
   opportunities for crime to occur.                   As such, a site inspection may be
                                                       unnecessary.

Vulnerability Assessment/                              a. Determine layout of the premises

Security Survey                                        b.	Evaluate relevant factors (lighting,
                                                          lines of sight, places of concealment,
The vulnerability assessment is an analysis               remoteness, accessibility, security
of security weaknesses and opportunities                  measures, conditions, etc.)
for criminal activity. A security survey is the
fundamental tool for collecting information            c.	If and when appropriate and as
used in the vulnerability assessment.                     allowed by local rules of evidence,
                                                          interview those with knowledge of
A security survey is a physical survey of the             the incident and/or the premises/
scene of the incident and areas/functions                 surrounding area (this is often covered
that are applicable to the incident to achieve            in depositions, police interviews and
a meaningful understanding of information                 private investigators’ investigations)
that has potential application to the matter
in litigation.                                         d.	Review relevant documentation
                                                          (lease, contract, diagram, map, etc.)

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   e.	Assess the characteristics of the            h.	Review changes to security prior to
      surrounding area                                 the incident

3. Security Personnel                               i.	Evaluate the qualifications and
                                                        experience of security management
   a.	Review security officers’ actions,               and supervisory personnel
      staffing levels, post orders, duty
      hours, equipment provided, tours,         5. Security Equipment
      evaluations, training, hiring
      procedures and supervision                    a.	Review building design and site plans

   b.	Review law enforcement presence              b.	Inspect all security devices related to
      and actions (e.g., on-duty, police               the incident
      details, etc.)
                                                    c.	Inspect all structural security features
   c.	Review roles and actions of non-
      security-related persons who may              d.	Determine the position, function and
      have participated in the security                maintenance status of the relevant
      program and/or incident                          security equipment and features

   d.	Assess the qualifications and perfor-        e.	Determine levels of illumination,
      mance of owner/management person-                if relevant
      nel overseeing the security program

4. Security Program
                                               Analysis and Opinions
   a.	Review security-related policies and
                                               The security expert will determine the level
      procedures
                                               of adequacy of security at the location of
                                               the incident on the date and at the time the
   b.	Review risk assessments performed
                                               incident occurred. This will be based on the
      prior to the date of the incident
                                               information obtained in the previous steps,
                                               and the application of a qualitative analysis
   c.	Review daily activity reports, job
                                               based on experience, education and training.
      descriptions, incident reports and
      internal correspondence
                                               Based upon the analysis, the expert will
                                               reach conclusions on the issues of foresee-
   d. Review security services contract
                                               ability, preventability and causation (i.e.,
                                               terms as used in the security profession).
   e. Review security manuals
                                               At this point the expert has formed opinions
                                               and is prepared to provide a written report,
   f.	Review training manuals and
                                               be deposed and/or testify at trial. Those
       materials
                                               opinions will state the detailed bases for the
                                               findings, including evidence, standards, best
   g.	Interview parties and/or review
                                               practices and guidelines, where applicable.
      depositions regarding employees’
      understanding of their duties, and all
      customs and undocumented practices

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                                              annual meeting.
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                                              Security Committee—minor formatting
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                                              changes and addition of “Premises Security
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William A. Hawthorne, CPP, CSC
William A. Hawthorne Associates, Inc.
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                                              tion of language to Actual Crime section:
Inter/Action Associates, Inc.
                                              “Relevant crimes in the immediate vicinity
                                              of the facility (three to five years prior to
Robert Shellow, Ph.D, CSC; Fellow, APA
                                              the date of the incident) as defined by and
IMAR Corporation
                                              deemed relevant by the security expert.”
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                                              ation of Professional Security Consultants
Threat Analysis Group, LLC
                                              (IAPSC) is a widely recognized and respect-
                                              ed association committed to establishing
Ralph W. Witherspoon, CPP, CSC
                                              and maintaining the highest standards for
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AWZ Consulting
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                                              practice requirements, ensuring that they
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